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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In re:                                                            Case No. 8:18-bk-04689-RCT
                                                                  Chapter 7
JOE ALLEN COX and
CRYSTAL MARIE COX,

      Debtors.
___________________________/
      MOTION FOR RELIEF FROM AUTOMATIC STAY (REAL PROPERTY)


                           NOTICE OF OPPORTUNITY TO
                        OBJECT AND REQUEST FOR HEARING

       Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
  paper without further notice or hearing unless a party in interest files a response within
  21 days from the date set forth on the attached proof of service, plus an additional three
  days for service if any party was served by U.S. Mail.

       If you object to the relief requested in this paper, you must file a response with the
  Clerk of the Court at 801 N. Florida Avenue, Suite 555, Tampa, FL 33602-3899 and
  serve a copy on the movant's attorney, Frederic J. DiSpigna, Esq., at Marinosci Law
  Group, P.C., 100 West Cypress Creek Road, Suite 1045, Fort Lauderdale, FL 33309,
  and any other appropriate persons within the time allowed. If you file and serve a
  response within the time permitted, the Court will either schedule and notify you of a
  hearing or consider the response and grant or deny the relief requested without a
  hearing.

       If you do not file a response within the time permitted, the Court will consider that
  you do not oppose the relief requested in the paper, will proceed to consider the paper
  without further notice or hearing, and may grant the relief requested.


         BOKF, N.A., a National Banking Association d/b/a HomeDirect Mortgage, as Successor

in Interest by Merger to Bank of Oklahoma, N.A. (“Movant”) hereby moves this Court, pursuant

to 11 U.S.C. § 362, for relief from the automatic stay with respect to certain real property of the

Debtors having an address of 56 Spring St, Adams, NY 13605 (the “Property”). In support of

this Motion, Movant respectfully states:




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       1.      The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, Fed. R.

Bankr. P. 4001(a) and the various other applicable provisions of the United States Bankruptcy

Code, Federal Rules of Bankruptcy Procedure and the laws of the United States of America.

       2.      A petition under Chapter 7 of the United States Bankruptcy Code was filed with

respect to the Debtors on June 5, 2018.

       3.      The Debtor have executed and delivered or are otherwise obligated with respect to

that certain promissory note in the original principal amount of $208,000.00 (the “Note”). A true

and correct copy of the Note is attached hereto as Exhibit A. Movant is an entity entitled to

enforce the Note.

       4.      Pursuant to that certain Mortgage (the “Mortgage”), all obligations (collectively,

the “Obligations”) of the Debtors under and with respect to the Note and the Mortgage are

secured by the Property. A true and correct copy of the Mortgage is attached hereto as Exhibit

B.

       5.      According to the Statement of Intention for Individuals Filing Under Chapter 7,

the Debtor is surrendering the Property.

       6.      The legal description of the Property is:




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       7.       The Debtors are indebted to Movant under the terms of the subject loan

documents for the unpaid principal balance of $197,471.55, plus additional interest, advances,

costs and attorneys’ fees advanced by Movant pursuant to the loan documents.

       8.       The Debtors have defaulted under the terms of the subject loan documents by

failing to make the payment due on December 1, 2017 and all subsequent payments.

       9.       Upon information and belief, the aggregate amount of encumbrances on the

Property listed in the Schedules or otherwise known, including but not limited to the

encumbrances granted to Movant, is $197,471.55.

       10.      Cause exists pursuant to 11 U.S.C. §362(d)(1) for relief from the automatic stay

for the following reasons:

             (a) Movant’s interest in the Property is being significantly jeopardized by the

Debtors’ failure to make regular mortgage payments while Movant is prohibited from pursuing

its lawful remedies to protect such interest. Thus, the Debtors have failed to adequately protect

the interest of Movant.

             (b) Movant’s interest in the collateral is not protected by an adequate equity cushion.

       11.      Movant respectfully requests that the Court waive the 14 day stay of effectiveness

of any order granting Movant’s relief from the automatic stay pursuant to Rule 4001(a)(3) of the

Federal Rules of Bankruptcy Procedure.

       12.      Movant requests that any communication by Movant in connection with

proceeding against the Property including, but not limited to, notices required by state law and

communications to offer and provide information with regard to a potential forbearance

agreement, loan modification, refinance agreement, loss mitigation agreement or other loan

workout, may be sent directly to the Debtors.




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       13.        In addition to the other amounts due Movant reflected in this Motion, as of the

date hereof, in connection with seeking the relief requested in this Motion, Movant has also

incurred $750.00 in legal fees and $181.00 in costs. Movant seeks an award of its fees and costs,

or alternatively, reserves all rights to seek an award or allowance of such fees and expenses as

part of the debt in accordance with applicable loan documents and related agreements, the

Bankruptcy Code and other applicable law, which fees and costs shall not be a personal liability

of the Debtors.

       14.        Pursuant to 11 U.S.C. § 362(e) Movant respectfully requests that in the event a

hearing becomes necessary on this Motion, one be held within thirty (30) days.

       WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the

automatic stay and granting the following:

       1.         Relief from the stay allowing Movant (and any successors or assigns) to proceed

under applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain

possession of the Property.

       2.         That the Order be binding and effective despite any conversion of this bankruptcy

case to a case under any other chapter of Title 11 of the United States Code.

       3.         That any hearing on this Motion be held within 30 days.

       4.         That Movant’s attorneys’ fees and costs incurred in filing this Motion be

recoverable as part of the debt pursuant to the loan documents under the remedies available

therein but shall not be a personal liability of the Debtors.

       5.         That Movant permitted to contact the Debtors for the reasons stated.

       6.         That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.




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       7.      For such other relief as the Court deems proper.


                                                  MARINOSCI LAW GROUP, P.C.
                                                  Attorney for Secured Creditor
                                                  100 West Cypress Creek Road, Suite 1045
                                                  Fort Lauderdale, FL 33309
                                                  Phone: (954) 332-9473
                                                  Fax: (954) 772-9601
                                                  Email: fdispigna@mlg-defaultlaw.com
                                                  /s/ Frederic DiSpigna
                                                  ____________________________________
                                                  FREDERIC DISPIGNA, ESQ.
                                                  Florida Bar No. 345539




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy hereof has been served electronically

or via U.S. mail, first class postage prepaid, to the parties listed below on July 23, 2018.

Carolyn R. Chaney, Trustee
PO Box 530248
St. Petersburg, FL 33747

United States Trustee - TPA7/13
Timberlake Annex, Suite 1200
501 E. Polk Street
Tampa, FL 33602

Crystal Marie Cox
18131 Parrot Rd.
Weeki Wachee, FL 34614

Joe Allen Cox
18131 Parrot Rd .
Weeki Wachee, FL 34614

Michael Barnett, Esq.
Michael Barnett, PA
506 N. Armenia Ave.
Tampa, FL 33609

                                                    MARINOSCI LAW GROUP, P.C.
                                                    Attorney for Secured Creditor
                                                    100 West Cypress Creek Road, Suite 1045
                                                    Fort Lauderdale, FL 33309
                                                    Phone: (954) 332-9473
                                                    Fax: (954) 772-9601
                                                    Email: fdispigna@mlg-defaultlaw.com
                                                    /s/ Frederic DiSpigna
                                                    ____________________________________
                                                    FREDERIC DISPIGNA, ESQ.
                                                    Florida Bar No. 345539




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